        Case 4:17-cv-01854-JEO Document 38 Filed 09/18/18 Page 1 of 3                     FILED
                                                                                 2018 Sep-18 PM 04:29
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

RONNIE FERGUSON,                         )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )   Case No. 4:17-cv-01854-JEO
                                         )
THE GREEN DOCTOR, LLC,                   )
and JOSEPH TUCKER,                       )
                                         )
      Defendants.                        )

                                     ORDER

      On April 16, 2018, counsel for The Green Doctor, LLC, filed a “Suggestion

of Death” concerning defendant Joseph Tucker. (Doc. 27). Counsel for Plaintiff

filed a motion to substitute the estate of Mr. Tucker for Joseph Tucker. (Doc. 35).

Also before the court is the motion of counsel for Mr. Tucker to withdraw. (Doc.

37). Both motions will be granted.

      Plaintiff Ronnie Ferguson (“Plaintiff”) filed this action on November 2,

2017, alleging violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §

201 et seq. (Doc. 1). He has named two Defendants: The Green Doctor, LLC and

Joseph Tucker. Since the filing of this lawsuit, Mr. Tucker has died. Accordingly,

counsel for Plaintiff filed the motion to substitute. Swetlana Tucker has been

appointed by the Probate Court of St. Clair County as the Administrator of Mr.
           Case 4:17-cv-01854-JEO Document 38 Filed 09/18/18 Page 2 of 3




Tucker’s estate. (Doc. 35 at ¶ 8). Accordingly, the motion to substitute is

GRANTED. The Clerk of the Court is DIRECTED to substitute Svetlana

Tucker, as Administrator of the Estate of Joseph Tucker, for Defendant Joseph

Tucker. Mrs. Tucker will be afforded two weeks to obtain counsel for the estate in

this action. The court will conduct a telephone conference call on Tuesday,

October 2, 2018, at 4:00 p.m. with counsel to determine the status of the matter.

The parties should use call-in number 888-808-6929 and pass code 5917763.

       Counsel are encouraged to meet and confer prior to the conference call to

discuss updated deadlines for disposition of this case. If counsel submit new,

agreed upon deadlines, the conference call will be cancelled. If the estate fails to

obtain counsel by the Tuesday call, Mrs. Tucker will be expected to participate in

the call. Failure by the estate to retain counsel to represent it, may result in the

grant of a default judgment against the estate.1

       In view of the substitution of the estate for Mr. Tucker, the motion to

withdraw filed by Bradley Boyd as counsel for Mr. Tucker is GRANTED.

       The Clerk of the Court is DIRECTED to serve a copy of this order upon

counsel of record and upon Mrs. Tucker.



       1
        The Eleventh Circuit has held that an estate must be represented by counsel. See
Franklin v. Garden State Life Insurance, 462 F. App’x 928 (11th Cir. 2012).

                                               2
 Case 4:17-cv-01854-JEO Document 38 Filed 09/18/18 Page 3 of 3




DONE, this the 18th day of September, 2018.



                             ___________________________
                             JOHN E. OTT
                             Chief United States Magistrate Judge




                                3
